The defendant, Maryland Casualty Company, appeals from a judgment in favor of plaintiff upon a statutory bond furnished pursuant to section 1183 of the Code of Civil Procedure by the defendant to the owner of the building that was being erected by Siebert  Company, as contractors, and for which the plaintiff, Crane  Company, furnished materials.
The sole question in the case is whether or not it was a condition precedent to the recovery by the respondents in this action against appellants upon their bond that the respondent file a claim of lien pursuant to the provisions of the mechanic's lien law. The trial court decided this question in the negative, and in accordance with this answer gave judgment for plaintiff, although plaintiff had filed no such claim. The answer given by the trial court to the question was incorrect and the judgment must, therefore, be reversed, and it is so ordered. (Hubbard v. Jurian, 35 Cal.App. 757, [170 P. 1093].)
Lennon, P. J., and Kerrigan, J., concurred. *Page 88 